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                                                      SORTED BY NAME OF PURCHASER
           A              B                    C                       D                  E               F           G                      H

1 Name               Date         FFL                        Make                 Model             Caliber    Serial Number
2 AL HERZ, Adam         1/23/2014 2nd Amendment              Magnum Research      Desert Eagle      .357       DK0013493
3 AL HERZ, Adam        5/20/2014 Coralville Scheels          Magnum Research      Desert Eagle      .50        DK0016128
4   AL HERZ, Adam      5/23/2014   2nd Amendment             MPA                  Defender          9mm        F20370
s · AL HERZ, Adam      6/10/2014   Tactical Creations        FN                   PS90              5.7mm      FB090444
6 AL HERZ, Adam        6/11/2014   Tactical Creations        IWI                  Baby Desert Eagle 9mm        43371977
7 AL HERZ, Adam        6/12/2014   2nd Amendment             IWI                  Baby Desert Eagle 9mm        44352841
s AL HERZ, Adam        6/13/2014   Gander Mountain           Magnum Research      Baby Desert Eagle 9o,m       44350822 ·
9    AL HERZ, Adam     6/26/2014 Coralville Scheels          Glock                19                9mm        XGY235
16 AL HERZ, Adam       6/26/2014 Ammo Bearer                 Smith & Wesson       Bodyguard         .380       l<BR0435
11   AL HERZ, Adam     6/27/2014 Gander Mountain             Sig Sauer            P238              .380       278019160
12 AL HERZ, Adam         7/2/2014 Coralville Sch eels         Magnum Research .     Baby Desert Eagle 9mm      44352438
13 AL HERZ, Adam         7/2/2014 Ammo Bearer                 Magnum Research       Baby Desert Eagle 9mm      44352612
14   AL HERZ, Adam       7/7/2014 Marion Guns & Gold         Smith & Wesson         SD9VE             9mm      HEY0125
15 AL HERZ, Adam         7/8/2014 Ammo Bearer                 Smith & Wesson        Bodyguard         .380     KBW7256
16 AL HERZ, Adam        7/15/2014 Fin & Feather               Glock                 42                .380     AAUM130
17 AL HERZ, Adam        7/18/2014 Sieh Guns                  'Smith & Wesson      . Bodyguard         .38      CWF8218         Waverly Gun Show
18  AL HERZ, Adam       7/18/2014 Boswells Guns & Ammo        Smith & Wesson        Bodyguard         .38      CVL7457         Waverly Gun Show
19 AL HERZ, Adam        7/18/2014 B&B Firearms                Smith & Wesson        Bodyguard         .380     ECF1909         Waverly Gun Show
20 AL HERZ, Adam       12/18/2014 Coralville Scheels          Glock                 19                9mm      YGZ597
21 AL HERZ, Adam       12/18/2014 Gabe's Gun Shop             Glock                 19                9mm      YCY365
22 AL HERZ, Adam       12/18/2014 Gabe's Gun Shop             FNH                   PS90              5.7mm    FN096118
23 AL HERZ, Adam       12/23/2014 Fin & Feather               Glock                 42                .380     AAVY498
24 AL HERZ, Adam       12/30/2014 2nd Amendment               Magnum Research       Desert Eagle      .SO      DK0016477
2s AL HERZ, Adam         1/8/2015 Coralville Scheels          Magnum Research       Desert Eagle      .50      DK0021145
26 AL HERZ, Adam         1/8/2015 Ammo Bearer                 Magnum Research       Desert Eagle       .50     DK0021675                         •
27 AL HERZ, Adam         1/8/2015 Gabe's Gun Shop             Chippa                Rhino GODS         .357    14A54627
28 AL HERZ, Adam        1/20/2015 Cedar Valley Outfitters     Glock                 19                 9mm     AAMN311
29 AL HERZ, Adam        1/20/2015 Midwest Shooting            Sig Sauer             1911               .45     54B066437
30 AL HERZ, Adam        1/27/2015 2nd Amendment               Sig Sauer             P229 Elite         9mm     SSB028234
31 AL HERZ, Adam        1/28/2015 RJN                         Glock                 42                 .380    ABAT623                                         ~·
32 AL HERZ, Adam        1/30/2015 Midwest Shooting            Glock                 19                 9mm     Y.RP816                                         '
33 AL HERZ, Adam        1/30/2015 Midwest Shooting            Glock                  19                9mm     YRP8.17
34 AL HERZ, Adam        1/30/2015 Cedar Valley Outfitters     Glock                  42                .380     ABBM246                 a,              MENT
35 AL HERZ, Adam          2/6/2015 Cedar Valley Outfitters    Sig Sauer             716                 .308    22G008374               J        GOV,ERNBIT
 36 AL HERZ, Adam         2/7/2015 Ammo Bearer                Glock                  17                9mm      2014LAV                 ~
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 37 AL HERZ, Adam            2/7/2015 Coralville Scheets         Smith & Wesson       Body Guard      .380      KDW0181
 38 AL HERZ, Adam            2/7/2015 Coralville Scheels         Smith & Wesson       Bodyguard       .380      KBW0181
 39 AL HERZ, Adam            2/7/2015 Fin & Feather              Beretta              PX4Storm        9mm       PZ20450
 40 AL HERZ, Adam           2/11/2015 Ammo    Bearer             Glock                19              9mm       YTB744
 41 AL HERZ, Adam           2/13/2015 Gander Mountain            Sig Sauer            P290RS          9mm       26C028402
 42 AL HERZ, Adam           2/17/2015 Sports Outfitters          Glock                19              9mm       WC769
 43 AL HERZ, Adam           2/17/2015 Gabe's Gun Shop            Beretta              Nano            9mm       NU060804
  44 AL HERZ, Adam          2/18/2015 Fin & Feather               Beretta             Nano            9mm       NU046183
  45 AL HERZ, Adam          2/19/2015 Cedar Falls Scheels         Glock               19              9mm      YRN014
  46 AL HERZ, Adam          2/19/2015 Tactical Creations          Beretta             Pico              .380   PC008875
  47 AL HERZ, Adam          2/20/2015 Gander Mountain             Beretta             92FS              9mm    A049519Z
  48 AL HERZ, Adam          2/20/2015 Cedar Valley Outfitters     HK                  VP9               9mm    224-040785
  49 AL HERZ, Adam          2/26/2015 Gabe's Gun Shop             Magnum Research     Baby Desert Eagle 9mm    43366855
  so AL HERZ, Adam          2/26/2015 West Des Moines Scheels     Smith & Wesson ·    Body Guard        .38    CVV1469
  51 AL HERZ, Adam          2/26/2015 Jack Smith Gun Sales        FNH                 FNS-9             9mm    GKU0046452
                                                                                                '
  52 AL HERZ, Adam          2/26/2015 Tactical Creations          Sig Sauer           P290RS            9mm    26C046757
  53 AL HERZ, Adam          2/26/2015 Tactical Creations          FNH                 PS90              5.7mm  FN097041
  54 AL HERZ, Adam          2/27/2015 Tactical Creations          Beretta             PX4Storm          9mm    PX103042
  55 AL HERZ, Adam          2/27/2015  Cedar Valley  Outfitters   Smith  & Wesson     SW99              9mm    SAA7029
   56 AL HERZ, Adam         2/28/2015 B&B Firearms                Glock               17                9mm    VKH325        Waterloo Gun Show
  57 AL HERZ, Adam          2/28/2015 America's 2nd Amendment Glock                   42                .380   ABCC351
   58 AL HERZ, Adam         2/28/2015 Boswells Guns & Ammo        Smith & Wesson      Bodyguard          .380  KBW7965       Waterloo Gun Show
   59 AL HERZ, Adam          2/28/2015 Ken's Gun Shop           · Smith & Wesson      Bodyguard          .380  KAN5786       Waterloo Gun Show
   60 AL HERZ, Ac;lam        2/28/2015 Ken's Gun Shop             Smith & Wesson      M&P 15 Sport      5.56mm SV58508       Waterloo Gun Show
   61 AL HERZ, Adam          2/28/2015 Sieh Guns                  Sig Sauer           P290              9mm    26C041719     Waterloo Gun Show
   62 AL HERZ, Adam           3/1/2015 AL SAFI, Saif              Sig Sauer           MK25              9mm    UU765276
   63 AL HERZ, Adam           3/5/2015 Fin & Feather              Magnum Research     Baby Desert Eagle 9mm    43366922
   64 HERZ, Ali             12/18/2013 Sports Outfi.tters         Kimber ·            Custom Aegis II   9mm    KF20579
   65 HERZ, Ali             12/18/2013 Sports Outfitters           Ruger              SR1911            .45    671-05659
   66 HERZ, Ali             12/18/2013 Sports Outfitters         · Smith & Wesson     SW1911CT          .45     UCV3609
    67 HERZ, Ali            12/27/2013 Sieh Guns                   FNH                FNS-40            .40     GKU0038558   Gun Show Friday
   68 HERZ, Ali             12/27/2013 Sieh Guns                   FNH                FNX-45            .45     FX3U023574   Gun Show Friday
   69 HERZ, Ali             12/27/2013 Sieh Guns                   Masterpiece Arms   MPA30T           9mm      814400       Gun Show Friday
   70 HERZ, Ali             12/27/2013 Sieh Guns                   Ruger              P85              9mm      301-45612    Gun Show Friday
    71 HERZ,Ali             12/27/2013 Sieh Guns         -        Beretta              PX4 Storm       9mm      PX1447P      Gun Show Friday
    72 HERZ, Ali             1/17/2014 Ammo Bearer                Beretta              M9              9mm      M9-158690
    73 HERZ, Ali             1/18/2014 2nd Amendment              Magnum Research      Desert Eagle    .44      DK0015043


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             74 HERZ, Ali                 1/24/2014 Ammo Bearer                 Magnum Research      Desert Eagle   .357      DK0014156
             75 HERZ, Ali                  7/3/2014 Tactical Creations          Glock                19             9mm       XBHOB
             76       HERZ, Ali            7/3/2014 Cedar Falls Scheels         Glock                26             9mm       WVF813
             77       HERZ,Ali             7/3/2014 Tactical Creations          Norinco              SKS            7.62x39rr 9204601
             78       HERZ,Ali             7/5/2014 Gander Mountain             Glock·               19             9mm       XGW537
             79       HERZ,Ali             7/6/2014 Fin & Feather               Sig Sauer            2022           9mm       246198692
             80       HERZ,Ali             7/6/2014 Coralville Scheets          Magnum Research      Desert Eagle   .50       DE0003942
             81       HERZ, Ali            7/7/2014 Marion Guns & Gold          Glock                19             9mm       WNM686
             82       HERZ, Ali            7/8/2014 Ammo Bearer                 Beretta              84             .380      B26151Y
             83       HERZ, Ali            7/9/2014 2nd Amendment               Smith & Wesson       Bodyguard      .380      EBX7498
             84       HERZ, Ali           7/14/2014 Cedar Falls Scheels         Magnum Research      DE II          9mm       43371894
             85 HERZ, Ali                 7/14/2014 Tactical Creations          !Wl                  Desert Eagle   9mm      43366838
                 86 HERZ,Ali              7/14/2014 Tactical Creations          FN                   PS90           5.7mm    FN092693
                 87 HERZ,Ali              7/18/2014 Sieh Guns                   Glock                42             .380     AAVE530      Waverly Gun Show
                 88 HERZ, Ali             7/18/2014 Boswells Guns & Amrrio      Sig Sauer            P938           9mm      528007634    Waverly Gun Show
                 89 HERZ,Ali              7/24/2014 2nd Amendment               MPA                  Defender       9mm      F2158U
                 90 HERZ,Ali               1/8/2015 Coralville Scheels          Beretta              92FS           9mm      A030417Z
                 91 HERZ,Ali                1/8/2015 Gabe's Gun Shop            Beretta              92FS           9mm      BER685358
                 92 HERZ,Ali                1/8/2015 Ammo Bearer.               FNH                   FNS-9         9mm      GKU0071074
                 93 HERZ, Ali               1/8/2015 Gabe's Gun Shop            FNH                   PS90          5.7mm    FN096117
                 94 HERZ, Ali             1/20/2015 Cedar Valley Outfitters     Smith & Wesson        642           .38      CXB5070
                 95 HERZ,Ali              1/20/2015   Midwest Shooting          Sig Sauer             1911          .45      548076326
                 96 HERZ, Ali             1/23/2015   America's 2nd Amendment Glock                   26            9mm      XKY812
                 97 HERZ, Ali             1/28/2015   Cedar Valley Outfitters ' Chippa               GODS           .357     RH16769
                 98 HERZ, Ali             1/28/2015   2nd Amendment              FNH                 PS90            5.7mm   FN095811
                 99 HERZ,Ali              1/30/2015   Midwest Shooting           Sig Sauer           P290            9mm     26C028066
             100 HERZ, Ali                 2/6/2015   Cedar Valley Outfitters    Glock               19              9mm     YCS113
             101 HERZ, Ali                 2/6/2015   Cedar Valley Outfitters    Sig Sauer           716             .308    226008381
             102 HERZ, Ali                 2/7/2015   Ammo Bearer                Glock               42              .380    ABCD272
                 103 HERZ, Ali             2/7/2015   Fin & Feather             Smith & Wesson       Bodyguard       .380    KBW1388
             104     HERZ, Ali             2/7/2015   Coralville Scheels        Beretta              PX4Storm        9mm     PX170207
                 105 HERZ, Ali            2/11/2015   Ammo Bearer               Glock                19              9mm     YTB743
                 106 HERZ, Ali            2/11/2015   Sports Outfitters         Glock                19              9mm     VVC768
                 107 HERZ, Ali            2/11/2015   Ammo Bearer               FNH                  PS90            5.7mm   FN096887
                 108 HERZ, Ali            2/11/2015 Gander Mountain             Beretta              PX4Storm          9mm   PX04658
                 109 HERZ, Ali            2/18/2015 Fin & Feather               Magnum Research      Baby Desert Eagle 9mm   43369775
                 11o HERZ, Ali            2/18/2015 Fin & Feather               IWI                  Desert Eagle      9mm   43369776


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111 HERZ,Ali                    2/19/2015 Tactical Creations         FN                   Five Seven       5.7mm    386278673
112 HERZ, Ali                   2/19/2015 Cedar Falls Scheels        Sig Sauer            P320             9mm      588015276
113 HERZ, Ali                   2/20/2015 Marion Guns & Gold         Glock                17               9mm      ISP5243
114 HERZ, Ali                   2/20/2015 Cedar Valley Outfitters    Smith & Wesson       M&PShield        9mm      HVJ2129
 115 HERZ, Ali                  2/21/2015 Sports Outfitters          Beretta              PX4              9mm      PZ514091
 116 HERZ, Ali                  2/21/2015 Gander Mountain            HK                   VP9              9mm      224-030690
 117 HERZ, Ali                  2/24/2015 2nd Amendment              Smith & Wesson       MP40C            .40      HPL9985
 118 HERZ,Ali                   2/26/2015 West' Des Moines Scheels   Glock                19               9mm      YRN953
 119 HERZ, Ali                  2/26/2015 Gabe's Gun Shop            Sig Sauer ·          226              9mm      U843476
 120 HERZ, Ali                  2/26/2015 Jack Smith Gun Sales       FNH                  FNS-9            9mm      GKU0049644
 121 HERZ, Ali                  2/27/2015 America's 2nd Amendment    Glpck                19               9mm      YfH278
 122 HERZ, Ali                  2/28/2015 Midwest Shooting           Smith & Wesson       Body Guard       .380      EAN9902
 123 HERZ, Ali                  2/28/2015 B&B Firearms               Smith & Wesson       Bodyguard        .380      KBY4800      Waterloo Gun Show
  124 HERZ, Ali                 2/28/2015 Ken's Gun Shop             Smith & Wesson       Bodyguard        .380      ECD4280      Waterloo Gun Show
  125 HERZ,Ali                  2/28/2015 Boswells Guns & Ammo       FNH                  FNS-9            9mm       GKU0010143   Waterloo Gun Show
  126 HERZ, Ali                 2/28/2015 Ken's Gun Shop             Smith & Wesson       M&P 15 Sport     5.56mm    SV58962      Waterloo Gun Show
  127 HERZ, All                 2/28/2015 TBear                      Sig Sauer            P229             9mm       AKU23220     Waterloo Gun Show
  128 HERZ, Ali                 2/28/2015 Sieh Guns                  Sig Sauer            P229              9mm      AJU27496     Waterloo Gun Show
  129 HERZ, Ali                   3/1/2015 AL SAFI, Saif             Beretta              92FS              9mm      M7210Z
  130 HERZ,Ali                    3/4/2015 Cedar Valley Outfitters   Magnum Research      Desert Eagle     .50       DK0022789
  131 HERZ,Ali                    3/5/2015 Fin & Feather             Glock                19               9mm       AARV506
  132 HERZ, Ali                 3/10/2015 2nd Amendment              FNH                  Five Seven       5.7mm     386277104
  133 HERZ,Ali                   3/12/2015 Tactical Creations        IWI                  Desert Eagle .   9mm       44328050
  134 HERZ,Ali                   3/12/2015 Tactical Creations        Smith & Wesson       M&P15            5.56mm    SU75929
  135 HERZ, Ali                  3/12/2015 Tactical Creations        Smith & Wesson       M&P 15           5.56mm    SU73327
  136 HERZ,Ali                   3/12/2015 Tactical Creations        Smith & Wesson       M&P 15           5.56mm    SU73328
  137 HERZ, Ali                  3/12/2015 Tactical Creations        Smith & Wesson       M&P15            5.56mm    SU73325
  138 HERZ, Ali                  3/12/2015 Tactical Creations        Smith & Wesson       M&P15            5.56mm    SU73324
  139 HERZ, Ali                  3/12/2015 Tactical Creations        Smith & Wesson       M&P15            5.56mm    SU73128
  140 HERZ, Ali                  3/12/2015 Tactical Creations        Smith & Wesson       M&P15            5:56mm    ~U69989
  141 HERZ,Ali                   3/12/2015 Tactical Creations        Smith & Wesson       M&P 15           5.56mm    SU73308
  142 HERZ, Ali                  3/12/2015 Tactical Creations        Smith & Wesson       M&P 15           5.56mm    SU73315
   143 HERZ, Ali                 3/12/2015 Tactical Creations         Smith & Wesson      M&P15            5.56mm    SU73119
   144 HERZ, Ali                 3/12/2015 Tactical Creations         Smith & Wesson      M&P15            5.56mm    SU75151
   145 HERZ, Ali                  3/12/2015 Tactical Creations       Smith & Wesson       M&P15            5.56mm SU75337
   146 HERZ, Ali                ' 3/12/2015 Tactical Creations       Smith & Wesson       M&P15            5.56mm SU75942
   147 HERZ, Ali                  3/12/2015 Tactical Creations       Smith & Wesson       M&PlS            5.56mm SU75945


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     148 HERZ, Ali             3/12/2015 Tactical Creations          Smith & Wesson          M&P 15            5.56mm SU75946
     149 HERZ, Ali          Est 3/15/15       AL SAFI, Saif          Liberti                 Outlaw 1875       .45 LC   U24378
     150 HERZ, Bassem         12/19/2013      Gander Mountain        Beretta                 92FS              9        K99600Z
     151 HERZ, Bassem         12/19/2013      Gander Mountain        Taurus                  PT92AR            9mm      TGP62309
     152 HERZ, Bassem         12/19/2013      Gander Mountain        Beretta                 PX4Storm          9mm      PZ6784B
     153 HERZ, Bassem         12/19/2013      Gander Mountain        Ruger                   SR1911            .45      670-92723
         154 HERZ, Bassem     12/19/2013 Gander Mountain             Kimber                  .Ultra Carry II   .45      KGMU5968
         155 HERZ, Bassem     12/27/2013 Gabe's Gun Shop             Kimber                   Aegis II         9mm      KF22837     Gun Show Friday
         156 HERZ, Bassem     12/27/2013  Gabe's Gun Shop            Kimber                   Eclipse          .45      K268065     Gun Show Friday
         157 HERZ, Bassem     12/27/2013 Gabe's Gun Shop             Sig Sauer                P22.6 X-Five     9mm      U902034     Gun Show Friday
         158 HERZ, Bassem     12/27/2013 Gabe's Gun Shop             Kimber                                    9mm      KF25726     Gun Show Friday
         159 HERZ, Bassem      1/18/2014 2nd Amendment               Magnum Research         Desert Eagle      .357     DK0013776
         160 HERZ, Bassem      1/24/2014 Ammo Bearer                 Magnum Research         Desert Eagle      .357     DK0014134
         161 HERZ, Bassem      4/26/2014 Coralville Scheels          Glock                   19                9mm      WHH451
         162 HERZ, Bassem      6/26/2014 Ammo Bearer                 Smith & Wesson          Bodyguard         .380     KBD1943
         163 HERZ, Bassem      6/27/2014 Gander Mountain             Smith & Wesson          Body Guard        .38      CVP4731
         164 HERZ, Bassem       7/2/2014 Coralville Scheels          Magnum Research         Baby Desert Eagle 9mm      44352753
         165 HERZ, Bassem       7/2/2014 Ammo Bearer                 Magnum Research         Baby Desert Eagle 9mm      44352713
         166 HERZ, Bassem       7/3/2014 Cedar Falls Scheels         Glock                   19                9mm      XGU530
         167 HERZ, Bassem       7/3/2014 Tactical Creations          Glock                   26                9mm      XDB719      Yes
         168 HERZ, Bassem       7/6/2014 Fin & Feather               Smith & Wesson          Bodyguard         .380     KBW1384
         169 HERZ, Bassem       7/7/2014 Marion Guns & Gold           Magnum Research        Desert Eagle      .50      DE0003417
         170 HERZ, Bassem      7/i14/2014 Cedar Falls Scheels         Magnum Research        DE II             9mm      43369044
         171 HERZ, Bassem       7/14/2014      Tactical Creations    IWI                     Desert Eagle.     9mm      43372225    Yes
         172 HERZ, Bassem       7/14/2014      Tactical Creations    FN                      PS90              5.7mm    FN092652    Yes
         173 HERZ, Bassem       7/18/2014      Sieh Guns             Glock                   42                .380     AAUY173     Waverly Gun Show
         174 HERZ, Bassem     . 7/18/2014      B&B Firearms          Glock                   42                .380     AATA658     Waverly Gun Show     '
         175 HERZ, Bassem       7/18/2014 Boswells Guns & Ammo       Smith & Wesson           M&P Shield       9mm      HSB7605     Waverly Gun Show
         176 HERZ, Bassem       12/5/2014 HUNTER, Lowell             Taurus                   911              9mm      TDR31710
         177 HERZ, Bassem       12iS/2014 Stavens, Aaron             Sig Sauer                P938             9mm      52A038306
         178 HERZ, Bassem       12/5/2014 TJ's Gun Passion           Smith & Wesson           PC1911           .45      UCX9691
         179 HERZ, Bassem       12/6/2014 Travis MCCOMB              Glock                    36               .45      MGH006      Date Estimated
         180 HERZ, Bassem      12/16/2014 Chastye ONTIVEROS          Glock                    19               9mm      VRU285
         181 HERZ, Bassem      12/18/2014 Ga_be's Gun Shop           Glock                    42               .380     ABAG925
         182 HERZ, Bassem                                                                                /
                               12/18/2014 Coralville Scheels         Sig Sauer                P226             9mm      47A050973
         183 HERZ, Bassem      12/23/2014 2nd Amendment              Magnum Research          Desert Eagle     .50      DK0021687
         184 HERZ, Bassem      12/30/2014 Gabe's Gun Shop            Magnum Research          Desert Eagle     .50      DK0021145


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 185 HERZ, Bass em    12/30/2014 Gabe's Gun Shop               FNH                         PS90            5.7mm    FN096150
186 HERZ, Bassem       1/30/2015 Cedar Valley Outfitters       FNH                         FNP-9           9mm      61BMN05585   Yes
187 HERZ, Bassem       1/30/2015 Midwest Shooting              Sig Sauer                   P320            9mm      58A01019     Yes
188 HERZ, Bassem        2/6/2015 Tactical Creations            Sig Sauer                   320c            9mm      58A03614     Yes
189 HERZ, Bassem        2/6/2015 Boswells Guns & Ammo           Masterpiece Arms           Defender        9mm      F22384       Cedar Rapids Gun Show
190 HERZ, Bassem        2/6/2015 Steve's Gun Shop               Beretta                    Nano            9mm      BU060349     Cedar Rapids Gun Show
191 HERZ, Bassem        2/6/2015 L&R Arms Exchange              FNH                        PS90            5.7mm    FN089173     Cedar·Rapids Gun Show
192 HERZ, Bassem        2/6/2015 L&R Arms Exchange              Chiappa                    Rhino           .357     RH10142      Cedar Rapids Gun Show
193 HERZ, Bassem        2/8/2015 Gabe's Gun Shop                Beretta                    92 Compact      9mm      BER700274    Gunshow-CR Sunday
194 HERZ, Bassem        2/8/2015 Hunting and Shooting Suppl,    Sig Sauer                  P238            .380     278110099
195 HERZ, Bassem        2/9/2015 Cedar Valley Outfitters        Sig Sauer                  716             .308     22G008961
196 HERZ, Bassem        2/9/2015 Cedar Valley Outfitters        Chippa                     Rhino           .357 ·   RH16684
197 HERZ, Bassem       2/10/2015 Gander Mountain                Sig Sauer                  716             .308     22C019129
198 HERZ, Bass em      2/10/2015 Gander Mountain                Smith & Wesson             BG380           .380     KBY5184
199 HERZ, Bassem       2/14/2015 Cedar Falls Scheels            Glock                      19              9mm      YRN111
200 HERZ, ~assem       2/14/2015 Duee's Pawn                     Beretta                   96FS            .40      BER575180
201 HERZ, Bassem       2/23/2015 Cedar Valley Outfitters        Glock                      19              9mm      YTG099
202 HERZ, Bassem       2/24/2015 GRESS, Cory                    Sig Sauer                  Scorpion 1911   .45      548049130
203 HERZ, Bassem       2/25/2015 Sports Outfitters               Glock                     19              9mm      WE997
 204 HERZ, Bassem      2/25/2015 Gander Mountain                Sig Sauer                  P250            9mm      EAK194692
 205 HERZ, Bassem       8/2/2015 Sieh Guns                       Sig Sauer                 P290            9mm      26C041759    Cedar Rapids Gun Show
206 ZEAITER, Sarah     6/28/2014 Gander Mountain                 Sig Sauer                 P238 ·          .380     27B019165
207 ZEAITER, Sarah      7/6/2014 Fin & Feather                   Smith & Wesson            Bodyguard       .380     KBW5694
208 ZEAITER, Sarah     7/14/2014 Cedar Falls Scheels             Magnum Research           DE II           9mm      43372160
209 ZEAITER, Sarah     7/14/2014 Tactical Creations              IWl                       Desert Eagle    9mm      43372136
210 ZEAITER, Sarah     7/14/2014 Tactical Creations              FN                        PS90            5.7mm    FN092285
211 ZEAITER, Sarah     7/18/2014 Sieh Guns                       Glock                     42               .380    AAUE855      Waverly Gun Show
 212 ZEAITER, Sarah    7/18/2014 Boswells Guns & Ammo          · Smith & Wesson            Bodyguard        .38     CVL4685      Waverly Gun Show
 213 ZEAITER, Sarah    2/14/2015   Duee's Pawn                   Sig Sauer                 P238            .380     278013818
 214 ZEAITER, Sarah    2/23/2015   Marion Guns & Gold            Glock                     19              9mm      VVC765
 215 ZEAITER, Sarah    2/23/2015   Cedar Valley Outfitters       Beretta                   Pico            .380     PC007219
 216 ZEAITER, Sarah    2/24/2015   Tactical Creations            FNH                       Five Seven      5.7mm    386278210
 217 ZEAITER, Sarah    2/25/2015   Gander Mountain               Smith & Wesson            Bodyguard       .38      CWR9629
 218 ZEAITER, Sarah    2/25/2015   Sports Outfitters           . Taurus                    PT738 TCP       .380     90805D




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